Case 2:21-cv-04920-WLH-ADS    Document 138   Filed 05/23/22   Page 1 of 3 Page ID
                                   #:2314


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   7
   8                      UNITED STATES DISTRICT COURT
   9                    CENTRAL DISTRICT OF CALIFORNIA
  10                             SOUTHERN DIVISION
  11 SERENA FLEITES,                          Case No. 2:21-CV-04920-CJC-ADS
  12
                  Plaintiff,                  Judicial Officer: Cormac J. Carney
  13                                          Courtroom: 9B
  14     v.
                                          NOTICE OF VISA INC.’S MOTION
  15 MINDGEEK S.A.R.L.; MG                TO DISMISS FOR LACK OF
  16 FREESITES, LTD; MINDGEEK USA SUBJECT-MATTER
     INCORPORATED; MG PREMIUM             JURISDICTION AND FAILURE TO
  17 LTD.; MG GLOBAL                      STATE A CLAIM
  18 ENTERTAINMENT INC.; 9219-1568
     Quebec, Inc. (d/b/a MindGeek); BERND Date: August 8, 2022
  19 BERGMAIR; FERAS ANTOON;              Time: 1:30 p.m.
  20 DAVID TASSILLO; COREY URMAN;
     VISA, INC.; COLBECK CAPITAL
  21 DOES 1-5; BERGMAIR DOES 1-5,
  22
                        Defendants.
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       VISA’S NOTICE OF MOTION TO DISMISS                     2:21-CV-04920-CJC-ADS
Case 2:21-cv-04920-WLH-ADS      Document 138     Filed 05/23/22   Page 2 of 3 Page ID
                                     #:2315


   1         TO PLAINTIFF AND ATTORNEYS OF RECORD:
   2         PEASE TAKE NOTICE that on August 8, 2022 at 1:30 p.m. or as soon
   3 thereafter as the matter may be heard, before the Honorable Cormac J. Carney in
   4 Courtroom 9B, located at 411 West Fourth Street, Santa Ana, CA, 92701-4516,
   5 Defendant Visa Inc. (“Visa”) will and hereby does move to dismiss Plaintiff’s claims
   6 against Visa, with prejudice, pursuant to Federal Rule of Civil Procedure 12(b)(1)
   7 and 12(b)(6).
   8         Visa brings this motion on the grounds that: (i) Plaintiff lacks Article III
   9 standing as to Visa because Plaintiff’s alleged injuries are not traceable to Visa; (ii)
  10 the Complaint does not state a claim for relief against Visa under the Trafficking
  11 Victims Protection Reauthorization Act (“TVPRA”), 18 U.S.C. § 1595; (iii) the
  12 Complaint does not plausibly allege any Racketeer Influenced and Corrupt
  13 Organizations Act (“RICO”) violations by Visa under 18 U.S.C. § 1962; (iv) the
  14 Complaint does not plausibly allege any conspiracy claim against Visa; (v) the
  15 Complaint does not plausibly allege any claims for relief under California state law;
  16 and (vi) dismissal with prejudice is warranted because amendment would be futile.
  17         This motion is based upon this Notice of Motion, all other pleadings and
  18 papers on file herein, and such other argument and evidence as may be presented to
  19 the Court.
  20         This motion is made following a conference of counsel pursuant to Local Rule
  21 7-3, which took place on May 17, 2022.
  22
  23 Dated: May 23, 2022                      RESPECTFULLY SUBMITTED,
  24
                                              /s/ Drew Tulumello
  25
                                              DREW TULUMELLO (#196484)
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                                              WEIL, GOTSHAL & MANGES LLP
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       VISA’S NOTICE OF MOTION TO DISMISS                         2:21-CV-04920-CJC-ADS
Case 2:21-cv-04920-WLH-ADS   Document 138   Filed 05/23/22   Page 3 of 3 Page ID
                                  #:2316


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